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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                              )
   EDWARD C. SNUKIS, JR. Co-Administrator )
   of the Estate of Edward C. Snukis, et al., )
   Plaintiffs,                                )
                                              )
   v.                                         ) CASE NO. 3:21-cv-00135-MPB-MJD
                                              )
   CITY OF EVANSVILLE, INDIANA, et al.,       )
   Defendants.                                )

                            DEFENDANTS’ MOTION FOR COSTS

         Defendants, by counsel, and pursuant to Federal Rule of Civil Procedure 54(d) and 28

  U.S.C. § 1920, hereby move for the approval and entry of its Bill of Costs. The facts supporting

  Defendants’ Bill of Costs are set forth in the Declaration of Attorney Clifford R. Whitehead,

  attached hereto as Exhibit A, as well as the supporting documents attached to the Declaration of

  Clifford R. Whitehead as Exhibit B.

         WHEREFORE, Defendants respectfully request that their Bill of Costs be approved and

  entered.

                                              Respectfully submitted,

                                              ZIEMER STAYMAN WEITZEL & SHOULDERS, LLP

                                              /s/ Clifford R. Whitehead
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                                    CERTIFICATE OF SERVICE

         I certify that on May 17, 2024, a copy of the foregoing was filed electronically by

  operation of the Court’s electronic filing system. Notice of this filing will be sent to all counsel

  of record by operation of the Court’s electronic filing system. Parties may access this filing

  through the Court’s system.


                                 /s/ Clifford R. Whitehead
                                 Clifford R. Whitehead




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